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AOS) (Rew il id) Search and Senure Moarrant (Page 2)

Return
Case Nos: | Date and time warrant executed: Copy of warrant and inventary lef wih:
I-SW-F%6-INEG 05/28/2827 16:00 am USSS Denver

Inventory made in the presence of :
SA Adam Knox

Inventory of the property taken and mame ef any person(s) seized:

- Data files extracted from A black Appie iPhone, model 17 IMEI# 352908117562296, located in evidence ai the DEA
Colorado Springs Field Office

Certification

| declare under penaity of perjury that this inventory is correct and was returned along with the original warrant to rhe
designated judge.

Date: 06/04/2071

Sean Si a Force Officer

Mood enti etn Uitte

